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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MARYLAND

                                        :
CHRISTINA DE LEVA
                                        :

       v.                               :    Civil Action No. DKC 21-1820

                                        :
LOWE’S COMPANIES, INC., et al.
                                        :

                                   ORDER

       Plaintiff has requested the appointment of counsel.            (ECF No.

29).    Ms. Michal Shinnar was appointed as pro bono counsel to

represent   Plaintiff during      the       parties’   settlement   conference

before the Magistrate Judge Timothy J. Sullivan.             (ECF No. 33).

       A federal district court’s power to appoint counsel for those

proceeding informa pauperis under 28 U.S.C. § 1915(e)(1) is a

discretionary one and may be considered where an indigent claimant

presents exceptional circumstances.            See Cook v. Bounds, 518 F.2d

779, 780 (4th Cir. 1975); see also Branch v. Cole, 686 F.2d 264,

266 (5th Cir. 1982).       Other than for the settlement conference,

counsel will not be appointed at this time.                 Plaintiff should

undertake to respond to discovery and motions on her own.             A motion

for protective order is pending, and if Plaintiff opposes, she

should file something promptly.

       Accordingly, it is this 3rd day of March, 2022, by the United

States District Court for the District of Maryland ORDERED that:
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     1.   Plaintiff’s motion for the appointment of counsel with

respect to matters outside mediation (ECF No. 29) BE and the same

hereby IS DENIED; and

     2.   The Clerk IS DIRECTED to mail a copy of this Order to

Plaintiff and to transmit a copy to counsel for Defendants.



                                                 /s/
                                       DEBORAH K. CHASANOW
                                       United States District Judge




                                   2
